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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
________________________________________
                                         )
CAUSE OF ACTION INSTITUTE,               )
                                         )
                  Plaintiff,             )
                                         )
         v.                              )  Case No. 1:18-cv-2397 (JEB)
                                         )
UNITED STATES                            )
DEPARTMENT OF COMMERCE,                  )
                                         )
                  Defendant.             )
________________________________________ )

                                    JOINT STATUS REPORT

        The parties, by counsel and pursuant to this Court’s July 9, 2019 minute order, respectfully

submit this joint status report.

        1.      This lawsuit concerns three Freedom of Information Act (“FOIA”) requests

submitted by Plaintiff Cause of Action Institute (“CoA Institute”) to Defendant United States

Department of Commerce (“Commerce”).

        2.      Consistent with the Court’s orders, on June 13, 2019, Commerce made an interim

production, and on June 28, 2019, Commerce completed production of non-exempt records

responsive to all three FOIA requests.

        3.      Counsel for both parties continue to meet and confer regarding Commerce’s

productions, and Plaintiff’s challenges thereto, in an effort to narrow the issues in dispute.

        4.      The parties propose to continue their discussions and to submit a further joint status

report by no later than August 9, 2019, in which they will propose a schedule for further

proceedings, if necessary.
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Dated: July 29, 2019                       Respectfully submitted,

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                                           Assistant Attorney General

                                           MARCIA BERMAN
                                           Assistant Branch Director
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                                            /s/ Robert M. Norway
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